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                                                Evidentiary Hearing Exhibit List

No.     Date       Document/Description                                                                    PM Bate     Stip to
                                                                                                           Stamp #     Admit
                   Debtor and Noteholder Exhibits


1       11.04.20   Proof of Claim filed by Primary Member, LLC Claim#8                                                   Y

2       01.25.21   Waterbridge Capital Website as of January 25, 2021                                                    Y
3       7.28.15    Limited Liability Company Agreement of Primary, LLC dated as of                                       Y
                   July 28, 2015 (1st Operating Agreement)

4       12.15.17   First Amendment to Limited Liability Company Agreement of Live Primary, LLC                           Y
                   dated as of December 15, 2017 (2nd Operating Agreement)

5       06.14.19   First Amended & Restated Limited Liability Company Agreement of Live Primary,            15-66        Y
                   LLC (3rd Operating Agreement)

6        7.28.15   LLCA of Primary Member, LLC                                                             115-136       Y

7       5.15.15    Email string between Skye Hain and Schrieber                                              209         Y
8       8.19.15    Email string between Skye Hain and Schrieber                                              258         Y
9       10.07.15   Email string between Skye Hain and Schrieber                                              280         Y
10      10.08.15   Email string between Skye Hain and Schrieber                                              281         Y
                   Projected Expense Report 10-01-15 -- 10-31-15 (part of 10)                                282         Y

12                 Use of Funds Report (part of 10)                                                          283         Y

13      11.9.15    Email string between Skye Hain and Schrieber                                            318 – 319     Y
14      12.30.15   Email string between Skye Hain and Schrieber                                               335        Y
15      01.17.16   Email string between Skye Hain and Schrieber                                               340        Y
16      01.15.16   Email string between Skye Hain and Schrieber                                               342        Y
17      01.18.16   Email string between Skye Hain and Schrieber                                               343        Y
18      01.23.16   Email string between Skye Hain and Schrieber                                            349 – 350     Y
19      01.25.16   Email string between Skye Hain and Schrieber                                               354        Y
20      01.28.16   Email string between Skye Hain and Schrieber                                               358        Y
21      02.26.16   Email string between Skye Hain and Schrieber                                               365        Y
22      02.26.16   Email string between Skye Hain and Schrieber                                               387        Y
23      02.26.16   Email string between Skye Hain and Schrieber                                               388        Y
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24      02.26.16      Email string between Skye Hain and Schrieber                                            390       Y
25      03.07.16      Letter to Joel Schreiber dated March 7, 2016                                            403       Y

26      04.01.16      Email string between Skye Hain and Schrieber                                          455 – 459   Y
27      04.19.16      Email string between Skye Hain and Schrieber                                             497      Y
28      04.22.16      Email string between Skye Hain and Schrieber                                             511      Y
29      04.25.16      Email string between Skye Hain and Schrieber                                             516      Y
30      04.25.16      Email string between Skye Hain and Schrieber                                             531      Y
31      5.3.16        Email string between Skye Hain and Schrieber                                             547      Y
32      8.1.16        Email string between Skye Hain and Schrieber                                             629      Y
33      8.24.16       Email string between Skye Hain and Schrieber                                             654
34      9.21.16       Email string between Skye Hain and Feldman                                               874
35      9.24.16       Email string between Skye Hain and Schrieber                                             885      Y
36      9.16          Draft Loan Agreement and Promissory Note to Kelly Noonan                              886 – 889   Y

37      9.24.16       Email string between Skye Hain and Schrieber                                             891      Y
38      10.4.17       Email string between Skye Hain and Schrieber                                           1202 –
                                                                                                              1204

39      2.1.18        Email string between Skye Hain and Schrieber                                            1217      Y
40      4.12.18       Email string between Skye Hain and Schrieber                                            1231
41      5.16.18       Email string between Skye Hain and Schrieber                                            1247      Y
42      6.8.18        Email string between Skye Hain and Schrieber                                            1269      Y
43      6.19.18       Email string between Skye Hain and Schrieber                                            1273      Y
44      6.22.18       Email string between Skye Hain and Fundera                                             1274 -     Y
                                                                                                              1275

45      7.19.18       Email string between Skye Hain and Scarlo                                              1294 -
                                                                                                              1297
46      12.31.18      Balance Sheet (Exhibit 2 Skye Hain Deposition)                                                    Y
47      Jan-Apr. 19   Live Primary Statement of Cash Flows (LP009793-009794                                             Y
48      11.9.20       Debtor’s Plan of Reorganization                                                                   Y
49      07.11.19      Email string between Skye Hain and Schrieber

50      09.19.19      Email string between Skye Hain and Schrieber                                                      Y
51      01.25.21      Schreiber Declaration                                                                             Y
52      01.25.21      Skye Hain Declaration                                                                             Y
53      1.28.21       Skye Hain Deposition Transcript
54      1.27.21       Joel Schreiber Deposition Transcript
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                   Primary Member, LLC Exhibits

1       1.25.21    Schreiber Declaration                                                                    Y
2       11.4.20    Proof of Claim filed by Primary Member, LLC Claim #8                                     Y

3       7.28.15    Limited Liability Company Agreement of Primary, LLC dated as of                          Y
                   July 28, 2015 (1st Operating Agreement)

4       12.15.17   First Amendment to Limited Liability Company Agreement of Live Primary, LLC              Y
                   dated as of December 15, 2017 (2nd Operating Agreement)

5       6.14.19    First Amended & Restated Limited Liability Company Agreement of Live Primary,            Y
                   LLC (3rd Operating Agreement)

6       6.30.16    Financial Statement Balance Sheet - Live Primary LLC                                     Y
7       12.31.18   Financial Statement Balance Sheet - Live Primary LLC                                     Y
8       12.31.19   Financial Statement Balance Sheet - Live Primary LLC                                     Y
9       12.13.19   Balance Sheet (from tax return) - Live Primary LLC                                       Y
10      12.31.19   Balance Sheet (from tax return) - Live Primary LLC                                       Y
11      12.20.17   Lisa Hain Email - re: Debt to Primary Member LLC                                         Y
12      12.28.21   Transcript of Lisa Sky Hain – Examination Before Trial




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